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                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMYRIS, INC., et al.,                                                 Case No. 23-11131 (TMH)

                                   Debtors. 1                         (Jointly Administered)

                                                                      Re: Docket No. 643

            CERTIFICATION OF NO OBJECTION REGARDING DEBTORS’
           MOTION FOR ENTRY OF AN ORDER AUTHORIZING DEBTORS
             TO FILE UNDER SEAL CERTAIN INFORMATION RELATED
            TO THE DEBTORS’ MOTION FOR THE ENTRY OF AN ORDER
      (I) AUTHORIZING DEBTORS TO EXECUTE WRITTEN CONSENT OF THE
    BOARD OF MANAGERS OF NOVVI LLC AND (II) GRANTING RELATED RELIEF

                  The undersigned hereby certifies that, as of the date hereof, no answer, objection

or other responsive pleading has been received to the Debtors’ Motion for Entry of an Order

Authorizing Debtors to File Under Seal Certain Information Related to the Debtors’ Motion for

the Entry of an Order (I) Authorizing Debtors to Execute Written Consent of the Board of

Managers of Novvi LLC and (II) Granting Related Relief (the “Motion”) [Docket No. 643] filed

on October 31, 2023. The undersigned further certifies that the Court’s docket has been

reviewed in this case and no answer, objection or other responsive pleading to the Motion

appears thereon. Pursuant to the notice of hearing [Docket No. 648], objections to the Motion

were to be filed and served no later than no later than November 3, 2023 at 12:00 p.m. prevailing

Eastern Time.




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     A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
     Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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                 Accordingly, it is hereby respectfully requested that the proposed order attached

hereto as Exhibit A be entered at the Court’s convenience.

Dated: November 3, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

                                                  /s/ James E. O’Neill
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                                                  Counsel to the Debtors and Debtors in Possession




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